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                  USCA11 Case: 22-13781 Date Filed: 11/17/2022 Page: 1 of 1


                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

David J. Smith                                                                       For rules and forms visit
Clerk of Court                                                                       www.ca11.uscourts.gov


                                         November 17, 2022

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 22-13781-P
Case Style: Kenneth Eugene Smith v. Commissioner, Alabama Department of Corrections
District Court Docket No: 2:22-cv-00497-RAH

Electronic Filing
All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
unless exempted for good cause. Although not required, non-incarcerated pro se parties are
permitted to use the ECF system by registering for an account at www.pacer.gov. Information
and training materials related to electronic filing are available on the Court's website.

The enclosed order has been ENTERED.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: David L. Thomas
Phone #: (404) 335-6171

                                                                       MOT-2 Notice of Court Action
          Case 2:22-cv-00497-RAH Document 42 Filed 11/17/22 Page 2 of 2
           USCA11 Case: 22-13781 Date Filed: 11/17/2022 Page: 1 of 1


                       IN THE UNITED STATES COURT OF APPEALS

                               FOR THE ELEVENTH CIRCUIT
                                 ________________________

                                       No. 22-13781-P
                                  ________________________


KENNETH EUGENE SMITH,

                                                                    Plaintiff - Appellant,

versus

COMMISSIONER, ALABAMA DEPARTMENT OF CORRECTIONS,

                                                                   Defendant - Appellee.

                                  ________________________

                          Appeal from the United States District Court
                              for the Middle District of Alabama
                                ________________________


Before: WILSON, JILL PRYOR and GRANT, Circuit Judges.

BY THE COURT:

         Pursuant to Fed. R. App. P. 41(b), the Court sua sponte EXPEDITES issuance of the

mandate in this appeal. The Clerk is directed to issue the mandate forthwith.
